           Case 1:04-vv-01768-UNJ Document 82 Filed 08/07/15 Page 1 of 2




         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 04-1768V
                                         Filed: July 8, 2015
                                         Not to be Published


*************************
                          *
ALISON SCHWARTZ           *
and DAVID SCHWARTZ,       *
parents of A.S., a minor, *
                          *
       Petitioners,       *                                   Autism; Petitioners’ Motion for a
                          *                                   Decision Dismissing the Petition;
               v.         *                                   Insufficient Proof of Causation; Vaccine
                          *                                   Act Entitlement; Denial Without Hearing
SECRETARY OF HEALTH AND   *
HUMAN SERVICES,           *
                          *
       Respondent.        *
                          *
*************************


                                                  DECISION


       On December 13, 2004, Petitioners filed a Petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program (“the Program”),1 alleging that various
vaccinations injured A.S. The information in the record, however, does not show entitlement to
an award under the Program.

       On July 8, 2015, Petitioners moved for a decision dismissing their petition,
acknowledging that they will be unable to prove they are entitled to compensation in the
Program.

        To receive compensation under the Program, Petitioners must prove either 1) that A.S.
suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table – corresponding
to one of A.S.’s vaccinations, or 2) that A.S. suffered an injury that was actually caused by a
vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An examination of the record did not
uncover any evidence that A.S. suffered a “Table Injury.” Further, the record does not contain a

1
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
         Case 1:04-vv-01768-UNJ Document 82 Filed 08/07/15 Page 2 of 2



medical expert’s opinion or any other persuasive evidence indicating that A.S.’s alleged injury
was vaccine-caused.

        Under the Act, petitioners may not be given a Program award based solely on the
petitioners’ claims alone. Rather, the petition must be supported by either medical records or by
the opinion of a competent physician. § 300aa-13(a)(1). In this case, because there are
insufficient medical records supporting Petitioners’ claim, a medical opinion must be offered in
support. Petitioners, however, have offered no such opinion.

       Accordingly, it is clear from the record in this case that Petitioners have failed to
demonstrate either that A.S. suffered a “Table Injury” or that A.S.’s injuries were “actually
caused” by a vaccination. Thus, this case is dismissed for insufficient proof. The Clerk shall
enter judgment accordingly.

IT IS SO ORDERED.


                                                    s/George L. Hastings, Jr.
                                                    George L. Hastings, Jr.
                                                    Special Master
